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16
                                 UNITED STATES DISTRICT COURT
17                             NORTHERN DISTRICT OF CALIFORNIA
                                      OAKLAND DIVISION
18
                                                          Case No. 4:20-cv-05146-YGR-SVK
19   PATRICK CALHOUN, et al., on behalf of
     themselves and all others similarly situated,        DECLARATION OF LESLEY E.
20                                                        WEAVER IN SUPPORT OF AWARD OF
                              Plaintiffs,                 PLAINTIFFS’ ATTORNEYS’ FEES
21
            v.                                            ASSOCIATED WITH PLAINTIFFS’
22                                                        MOTION TO COMPEL PRODUCTION
     GOOGLE LLC,                                          OF DOCUMENTS FROM THIRD
23                                                        PARTY ERNST & YOUNG LLP
                              Defendant.
24
                                                          Hon. Susan van Keulen, USMJ
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                                            WEAVER DECL. IN SUPPORT OF AWARD OF PLAINTIFFS’ ATTORNEYS’ FEES
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 1          I, Lesley E. Weaver, declare and state as follows:
 2          1.      I am Partner-in-Charge of the California office of Bleichmar Fonti & Auld LLP
 3 (“BFA”), head of its consumer and antitrust practice, and along with the law firms DiCello Levitt

 4 Gutzler LLC (“DLG”) and Simmons Hanly Conroy LLC represent Plaintiffs in the above-captioned

 5 matter. I am a member in good standing of the Bar of the State of California and of this Court and

 6 admitted to the United States District Court for the Northern District of California.

 7          2.      I have personal knowledge of the facts set forth herein and, if called as a witness,
 8 could and would testify competently to them.

 9          3.      Pursuant to the Court’s Order Granting Plaintiffs’ Motion to Compel Production of
10 Documents From Third Party Ernst & Young LLP; Order to Show Cause (Dkt. No. 558), I submit

11 this declaration detailing fees claimed in connection with Plaintiffs’ Motion to Compel Production

12 of Documents From Third Party Ernst & Young LLP.

13          4.      Plaintiffs seek reimbursement for the work performed on Plaintiffs’ Motion between
14 March 2, 2022 and March 4, 2022:

15                               Legal Professional
         Attorney Hours                                      Total Hours              Total Fees
                                       Hours
16
                 14.0                     3.6                     17.6                  $10,836
17

18          5.      BFA’s fees for work related to Plaintiffs’ Motion total: $6,826. The BFA attorney

19 and legal professional for whose work compensation is sought are:

20                     Joshua Samra, an associate at BFA with more than 6 years of professional

21                      experience whose hourly rate is $605;

22                     Julie Law, a paralegal with over 5 years of professional experience whose hourly

23                      rate is $350.

24          6.      DLG’s fees for work related to Plaintiffs’ Motion total: $4,010. The DLG attorneys

25 for whose work compensation is sought are:

26                     David Straite, a partner at DLG with more than 25 years of professional

27                      experience whose hourly rate is $1,100;

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 1                    Adam Prom, an associate at DLG with more than 7 years of professional
 2                     experience whose hourly rate is $600.

 3          7.     Should the Court require it, Plaintiffs’ counsel is ready to submit contemporaneous

 4 time records for in camera inspection to further substantiate the fees sought.

 5                                                        ***

 6          I declare under penalty of perjury under the laws of the United States that the foregoing is

 7 true and correct. Executed this 31st day of March, 2022 at Oakland, California.

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 9                                                        By:     Lesley E. Weaver
                                                          Lesley E. Weaver
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                                                      2                   Case No. 4:20-cv-05146-YGR-SVK
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 1                                  CERTIFICATE OF SERVICE

 2         I hereby certify that on March 31, 2022, I electronically filed the foregoing document using
 3 the CM/ECF system, which will send notification of such filing to all counsel of record registered

 4 in the CM/ECF system.

 5                                                       /s/ Lesley E. Weaver___
                                                         Lesley E. Weaver
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                                                     3                   Case No. 4:20-cv-05146-YGR-SVK
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